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OUTDOOR OPTICS, INC., d/b/a
()LYMPIC OPTICAL COMPANY,
Plaintiff, CaSe No. 05-2185 D

vs.
DAlSY MANUFACTURING COMPANY, INC.,

Defendant.

 

ORDER GRANTING MOTION TO APPEAR PRO HAC VICE

 

This matter is before the court upon motion ofPlaintiff, pursuant to Rule 83 . l (b), requesting
that Attorney G. Franklin Rothwell, IV be admitted pro hac vice for the purpose of appearing as
counsel for Plaintiff in this case.

F or the reasons stated in the motion, G. Franklin Rothwell, IV, is admitted in this court pro
hac vice.

lT IS HEREBY ORDERED, that Plaintiff’s motion for admission pro hac vice is

GRANTED.

IT IS SO ORDERED this 02 day 0

 

ICE B. DONALD
U ITED STATES DISTR]CT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 2:05-CV-02185 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

